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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,


        vs.
                                                              Criminal Nos. 23-10159-IT
JACK DOUGLAS TEIXEIRA

                       Defendant.




   ASSENTED-TO MOTION FOR CONTINUANCE OF PRETRIAL CONFERENCE


        The United States of America, by and through undersigned counsel, respectfully moves the

Court to continue the pretrial conference, currently scheduled for February 9, 2024, to March 4,

2024.

        To date, the government has made four productions of classified discovery.              The

government has also reproduced certain of the classified productions in a searchable format at the

request of the defense. The government anticipates producing additional classified discovery in

the coming weeks based, in part, on a January 12, 2024, defense discovery request. Because

classified discovery is still ongoing, the parties believe that it is premature to set any deadlines

under the Classified Information Procedures Act, and a continuance of the pretrial conference is

warranted.
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       WHEREFORE, the government respectfully requests that the Court continue the February

9, 2024, pretrial conference until March 4, 2024. Counsel for the defendant assents to this motion.



January 23, 2024                                      Respectfully submitted,


                                                      JOSHUA S. LEVY
                                                      Acting United States Attorney

                                                      /s/ Jared C. Dolan
                                                      NADINE PELLEGRINI
                                                      JARED C. DOLAN
                                                      JASON CASEY
                                                      Assistant United States Attorneys

                                                      MATTHEW G. OLSEN
                                                      Assistant Attorney General

                                                      /s/ Christina A. Clark
                                                      CHRISTINA A. CLARK
                                                      Trial Attorney
                                                      National Security Division


                                   CERTIFICATE OF SERVICE
        I hereby certify that this document filed today through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).



                                                      /s/ Jared C. Dolan
                                                      Jared C. Dolan
                                                      Assistant United States Attorney


January 23, 2024




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